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                   EXHIBIT A
          Case 3:21-cv-30058 Document 1-3 Filed 05/19/21 Page 2 of 31
                                                      U.S. Department of Justice
                                                      Civil Rights Division

                                                      United States Attorney's Office
                                                      District ofMassachusetts

                                                      United States Attorney's Office   Assistant Attorney General
                                                      l Courthouse Way, Suite 9200      950 Pennsylvania Ave, NW-RFK
                                                      Boston, MA 02210                  Washington, DC 20530




                                                                 July 8, 2020


Via Electronic Mail

Honorable Domenic J. Sarno
Mayor
36 Court Street
Springfield, MA 01103


        Re:    Springfield Police Department


Dear Mayor Sarno:

        The Civil Rights Division of the United States Department of Justice and the United
States Attorney's Office for the District of Massachusetts have completed the civil investigation
of the Springfield Police Department's ("SPD") Narcotics Bureau, pursuant to the pattern or
practice provision of the Violent Crime Control and Law Enforcement Act of 1994, 34 U.S.C. §
12601. We conclude that there is reasonable cause to believe that the Springfield Police
Department's Narcotics Bureau engages in a pattern or practice of conduct of excessive force
that violates the Fourth Amendment of the United States Constitution. Our investigative
conclusions are detailed in the accompanying Report.

         We thank the City and SPD for cooperating and assisting us throughout our investigation.
In the coming weeks, we will seek to work with you toward developing an appropriate settlement
to ensure that all necessary reforms are implemented efficiently and effectively. As we stated at
the outset of this investigation, our goal in this matter is to improve public safety, protect civil
rights, and promote effective policing. Now that our investigation has concluded, we hope to
continue to work cooperatively with the City and SPD to remedy the pattern or practice of
conduct we identified so that policing in Springfield can indeed be safer, lawful, and more
effective.

       If you have any questions, please call Steven H. Rosenbaum, Chief of the Civil Rights
Division's Special Litigation Section, at (202) 616-3244, or Jennifer Serafyn, Chief of the Civil
Rights Unit at the United States Attorney's Office for the District of Massachusetts, at (617) 748-
3188.
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                                      Sincerely,




      Isl Eric S. Dreiband                         Isl Andrew E. Lelling

      Eric S. Dreiband                             Andrew E. Lelling
      Assistant Attorney General                   United States Attorney
      Civil Rights Division                        District of Massachusetts




cc:   Commissioner Cheryl Clapprood
      City Solicitor Edward Pikula




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           Investigation of the
        Springfield, Massachusetts
           Police Department's
            Narcotics Bureau




      United States Department of Justice
             Civil Rights Division
                       and
       United States Attorney's Office
           District of Massachusetts

                      July 8, 2020
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                                     EXECUTIVE SUMMARY

        On April 13, 2018, the United States Department of Justice initiated an investigation of
the Springfield Police Department's (SPD, or "Department") Narcotics Bureau, pursuant to the
Violent Crime Control and Law Enforcement Act of 1994, 34 U.S.C. § 12601. 1 The Narcotics
Bureau is a small unit of SPD plainclothes officers tasked with enforcing drug-related laws.
Following a thorough investigation, there is reasonable cause to believe that Narcotics Bureau
officers engage in a pattern or practice of excessive force in violation of the Fourth Amendment
of the United States Constitution. 2

        Specifically, our investigation identified evidence that Narcotics Bureau officers
repeatedly punch individuals in the face unnecessarily, in part because they escalate encounters
with civilians too quickly, and resort to unreasonable takedown maneuvers that, like head strikes,
could reasonably be expected to cause head injuries.

         This pattern or practice of excessive force is directly attributable to systemic deficiencies
in policies, accountability systems, and training. For example, unlike most other police
departments, SPD policies do not require officers to report "hands on" uses of force such as
punches and kicks. This practice enables Narcotics Bureau officers to routinely avoid reporting
any use of hands-on force or to submit vague and misleading reports documenting their uses of
force. We also found examples where Narcotics Bureau officers falsified reports to disguise or
hide their use of force. Supervisors fail to effectively review uses of force that Narcotics Bureau
officers do report. Deficiencies within SPD's broader systems of accountability exacerbate these
issues. For example, although SPD policy requires that senior command staff refer to SPD's
Internal Investigations Unit (IIU) any questionable force incident resulting in injury, from 2013
to 2018, command staff did not make any referrals in cases involving the Narcotics Bureau;
indeed, not a single such referral was made throughout the entire Department. Further, while IIU
has investigated some excessive force complaints made by members of the public, its
investigations lack critical content needed to determine if an allegation should be sustained. This
has resulted in zero sustained findings of excessive force against any Narcotics Bureau officer in
the last six years.

        Against this backdrop, Narcotics Bureau officers engage in uses of excessive force
without accountability. For example, in October 2018, the United States indicted a veteran
Narcotics Bureau sergeant for color oflaw violations related to his 2016 arrest of two juveniles.
The indictment alleges that the sergeant kicked one of the youths in the head, spat on him, and
said, "welcome to the white man's world." Further, the sergeant allegedly threatened to, among
other things, crush one of the youth's skulls and "fucking get away with it," "fucking bring the
dog back [and] let him fucking go after" a youth, "fucking kill [one of the youth] in the parking
lot," charge a youth with a murder and "fucking make it stick," and that he would "stick a

         The investigation has been conducted jointly by the United States Attorney's Office for the
District of Massachusetts and the Special Litigation Section of the Civil Rights Division.
2
         The Department of Justice does not serve as a tribunal authorized to make factual findings and
legal conclusions binding on, or admissible in, any court, and nothing in this Report should be construed
as such. Accordingly, this Report is not intended to be admissible evidence and does not create any legal
rights or obligations.

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fucking kilo of coke in [one of the youth's] pocket and put [him] away for fucking fifteen years."
The indictment also alleges that during interrogation, the sergeant "pointed to blood on his boot"
and told one of the youths that ifhe lied, the youth's "blood would be on [the sergeant's] boot
next." The case is pending.

        Moreover, there is reasonable cause to believe that officers use excessive force even more
often than our investigation uncovered. Indeed, we identified evidence that officers underreport
force that should be documented even under SPD' s minimal reporting standards. In many of
these cases, the evidence that is available suggests the force used may have caused serious injury
and may have exceeded the level of force justified by the circumstances of the incident.

        This report is based on a comprehensive review of over 114,000 pages of SPD's incident
reports, investigative reports, policies, training materials, and other internal documents;
interviews with SPD officers and City officials; and interviews with community members. Our
investigation was conducted with the assistance of two law enforcement experts, one of whom
served as a narcotics unit officer in a Massachusetts city, and both of whom have extensive
experience reviewing use-of-force incidents and analyzing internal affairs investigations.

         We appreciate the cooperation and professionalism that City officials, SPD command
staff, and many hard-working SPD officers demonstrated throughout our investigation. We
understand that SPD officers perform an immense service to the Springfield community that
often places them in dangerous situations, and that Narcotics Bureau officers in particular are
tasked with serving felony warrants and making arrests of individuals suspected of serious drug
and weapons offenses. We hope that everyone in Springfield-City officials, SPD officers, and
residents alike-will view this report as an opportunity to positively address failures within the
Narcotics Bureau and make policing in Springfield lawful, safer, and more effective.

                                    I.     BACKGROUND

       A. Springfield, Massachusetts

       According to 2010 census data, Springfield is the third largest city in Massachusetts, with
a population of over 153,000. Springfield's population is approximately 52% white, 36%
Hispanic or Latino, 22% Black, and 2% Asian. The median income in Springfield is $34,628,
which is below the national average of$49,445. Approximately 27% of the population lives in
poverty, with 43% of Latino residents, 27% of Black residents, and 19% of white residents living
below the poverty line.

       Springfield is governed by an elected Mayor and City Council. The current Mayor,
Domenic Sarno, is a fonner Springfield City Councilman who has been Mayor since 2007. The
Springfield City Council is composed of eight members representing each of Springfield's eight
wards, and five at-large members. The Council is led by President Justin Hurst and Vice-
President Marcus Williams.




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         B. Springfield Police Department

        SPD has approximately 500 sworn officers. The Department is led by a police
Commissioner, whom the Mayor appoints to a four-year tenn. Cheryl Clapprood, the current
Commissioner, is a 40-year SPD veteran who was appointed by the Mayor in September 2019.
The Department is organized into three major divisions: South/Investigations Division,
Central/Uniform Division, and North/Administrative Division. Each division is headed by a
deputy chief, who reports to the Commissioner. Together, the divisions cover nine geographic
patrol areas, or "sectors," as well as a number of different specialty units.

        The Narcotics Bureau, 3 which falls under the purview of the South/Investigations
Division deputy chief, is a small unit of SPD plainclothes officers tasked with apprehending
those suspected of narcotics offenses and executing narcotics search and arrest warrants. The
Narcotics Bureau also includes the Vice Unit, the Warrant Apprehension Unit, the Task Force
( which includes several officers assigned to regional federal and state drug task forces), the
Property Unit, and Licensing. Fully staffed, the unit consists of24 officers, three sergeants, one
lieutenant, and one captain, who oversees the unit.

        The Internal Investigations Unit (JIU) is charged with investigating allegations of
misconduct against the Department and its employees. The nu is staffed by a captain,
lieutenant, and three sergeants. While the nu conducts investigations of allegations of officer
misconduct and drafts reports summarizing findings of fact, IIU investigators do not weigh
evidence, draw conclusions, or recommend findings. Rather, IIU presents its reports to the
Commissioner, or, in the case of certain types of civilian complaints, the Community Police
Hearing Board (CPHB or Board), a seven-member civilian panel of mayoral appointees intended
to bring community input to SPD's internal investigation and discipline process. For those
complaints, a subset of CPHB members review each IIU file to determine whether to make
findings and disciplinary recommendations on the basis of the file alone, or whether to hold a
hearing. Where they occur, CPHB hearings are conducted like trials, with city solicitors acting
as prosecutors and union counsel defending accused officers. Regardless of whether or not there
is a hearing, CPHB members make recommendations about the complaint's disposition and an
officer's discipline to the Commissioner, who is the ultimate decisionmaker on both whether the
complaint is sustained and, if so, how much discipline is imposed. 4



         SPD called this bureau the "Narcotics Unit" until approximately 2011, when Commissioner
Fitchett renamed it the "Special Investigations Unit." In September 2019, Commissioner Clapprood
renamed the "Special Investigations Unit" as the "Narcotics Bureau." While the title of this unit has
changed, the core functions and responsibilities of this unit have not.
4
         Under the Executive Order that created the CPHB on February 3, 2010, the CPHB had the
authority to make a recommendation for any discipline warranted. On March 2, 2016, the Executive
Order was amended to eliminate CPHB's authority to make discipline recommendations. The CPHB
could only make written findings of fact regarding the merits of the complaint and make a
recommendation as to whether any discipline was warranted. The Executive Order was amended again
on December 29, 2017 to reinstate CPHB's authority to make discipline recommendations. CPHB
currently relies on guidance from the City's Department of Labor Relations in making disciplinary
recommendations.

                                                   4
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        Two unions represent the interests of SPD supervisors and officers. The International
Brotherhood of Police Officers represents the interests of patrol officers. The Springfield Police
Supervisors Association represents the interests of sergeants, lieutenants, and captains. Each
union has a collective bargaining agreement (CBA) with the City that establishes the terms and
conditions of employment. In July 2018, the City Council approved a new CBA negotiated by
the patrol officer's union and the City. The supervisors' union CBA was tentatively approved by
the union and the City in March 2019. The recently negotiated contracts include the initiation of
a body-worn camera pilot program, the adoption of a social media policy, a peer support
program, as well as several provisions related to promotions, evaluations, and discipline.

        C. Recent Events In the Narcotics Bureau and SPD

        Several recent incidents have raised public concern regarding force and accountability
issues within SPD, and within the Narcotics Bureau in particular. As discussed above, a
Narcotics Bureau sergeant was indicted for threatening juveniles in a February 2016 incident. In
addition to the federal criminal charges filed against this officer, one of the youths filed a civil
lawsuit alleging that the officer used excessive force against him. The lawsuit alleges officers
beat the youth so severely that he received a fractured nose, two black eyes, and numerous head
contusions and abrasions. The sergeant who threatened the youths initially received a 60-day
suspension for the incident, but SPD suspended him without pay after he was criminally indicted
by a federal grand jury in 2018. The civil lawsuit against the City and the criminal charges
against the sergeant are both still pending. As a result of this controversy, local prosecutors have
had trouble successfully prosecuting drug crimes in Springfield, in large part due to the fact that
they have not been able to rely on testimony from discredited Narcotics Bureau officers. 5

        While this investigation focused on the Narcotics Bureau, our conclusions about that
Bureau are supported by SPD's response to its officers' uses of excessive force generally. In one
incident, six off-duty SPD officers not assigned to the Narcotics Bureau fought with four men in
a parking lot outside a bar in April 2015. The officers reportedly caused significant injuries to
the men, including knocking one unconscious and fracturing his leg and skull, kicking and
punching another while he lay on the ground covering his bleeding face, and kicking a third man
in the head repeatedly. The Massachusetts Attorney General's Office has criminal charges
pending against several then off-duty and then on-duty SPD officers; charges include both
assault and battery and that some officers covered up the incident by providing false reporting.
The alleged beating of civilians outside a bar and alleged willingness of officers to cover up
fellow officers' misconduct demonstrate accountability lapses within the Department. With the
charges pending, SPD reinstated to full service five officers in April 2020.


         See, e.g., Buffy Spencer, Drug Cases Dropped Against Springfield Couple; Hinged on Police
Officer Gregg Bigda, MassLive, Jan. 23, 2017; available at
http://www.masslive.com/news/index.ssf/2017/0l/drug cases dropped against spr.html; Buffy Spencer,
Prosecution Problems Caused by Suspended Narcotics Detective Gregg Bigda Result in 'Gij/' Sentence,
MassLive, Oct. 15, 2016, available at
https://www.masslive.com/news/2016/10/prosecution problems caused bv.html; Buffy Spencer, Yet
Another Drug Trafficking Case Dropped Because ofSpringfield Officer Gregg Bigda 's Involvement,
MassLive, Dec. 9, 2016, available at
http://www.masslive.com/news/index.ssf/2016/12/another drug tarfficking case.html.

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        In another widely reported incident, a former Narcotics Bureau evidence officer was
indicted in January 2016 for stealing cash from the narcotics evidence room. The stolen cash
allegedly was obtained from more than 170 drug cases and totaled almost $400,000. The officer
was a 43-year-veteran ofSPD, and at the time of his retirement in July 2014, was the longest-
serving officer in SPD. The officer died before this matter could be resolved legally or
administratively.

         The City and SPD have taken some steps to address matters within the Department.
First, after the 2016 indictment of the Narcotics Bureau evidence officer for theft, SPD requested
a City-led audit ofSPD's record-keeping practices. The audit found that the Department lacked
comprehensive policies or procedures related to seized cash and its disposition; had an
inadequate system for logging and tracking seized cash; and had not developed any safeguards to
protect against improper access or handling of currency. The audit report recommended several
measures, most significantly updates to SPD 's record-keeping system for seized cash that SPD
has implemented.

         Second, the City hired a consultant to review SPD' s accountability systems, as well as all
SPD policies. This review focused on protocols and did not include a review of any use-of-force
incidents or internal investigation files. In early 2019, the consultant issued its first report,6
which addressed accountability, finding that although SPD has some practices in place regarding
complaint intake, classification, and investigation, the practices are not comprehensive or
codified appropriately in policy. The report recommended that IIU create a detailed internal
affairs manual outlining the process for receiving, investigating, and resolving complaints. It
also recommended that IIU create an updated electronic case management system to document
and track complaints. The report further recommended improvements to the CPHB by
expanding the Board from seven members to at least nine, staffing the Board with individuals
who have relevant police and trial experience, and appointing an oversight coordinator that
would be responsible for the daily administration of the Board. The City and SPD have publicly
committed to implementing these reforms. To date, SPD has revised its IIU policies and added a
captain to oversee IIU. In addition, the City added an additional CPHB member, bringing the
total to eight members, and allocated additional resources to the CPHB.

       Although SPD's and the City's efforts to address weaknesses in its policies and
accountability systems is an important first step in the reform process, more is required to
address the constitutional violations and systemic deficiencies detailed in this report.




6
       The second report, on policies, remains in progress.
                                                   6
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                                   II.     METHODOLOGY

        This investigation relies on several sources of information. We interviewed City
officials, SPD's current and former command staff, SPD officers, and other stakeholders within
the City of Springfield. We conducted onsite tours in April 2018, August 2018, December 2018,
February 2019, and May 2019. We also met with SPD's Training Division, IIU investigators,
and representatives of the patrol officer and supervisor unions. A significant portion of each of
these interviews consisted of understanding how use-of-force policies are interpreted and applied
by commanders and officers in practice.

         Although we attempted several times, we did not individually interview any Narcotics
Bureau commanders or officers currently serving within the Narcotics Bureau. SPD informed us
that Narcotics Bureau command staff and officers were unwilling to engage in one-on-one
interviews with us. We did, however, conduct a group interview with Narcotics Bureau
supervisors. We also met infonnally with several groups of Narcotics Bureau supervisors and
officers to inform them of our investigation and learn about general Narcotics Bureau operations.
In all, we spoke to over 40 SPD officers and command staff.

        We also sought to learn more from individuals and groups who have had direct
interactions with Narcotics Bureau officers. We held community meetings in different regions of
the City; met with individuals who had either witnessed, had knowledge of, or had been
subjected to force by SPD officers; met with plaintiffs attorneys and criminal defense lawyers;
spoke with attorneys in the Hampden County District Attorney's Office and FBI agents working
cases in the Springfield area; and spoke to over 50 religious leaders and community stakeholders.
We also met with the majority ofCPHB members.

        This investigation also included an extensive review of documentary evidence. We
reviewed over 114,000 pages in total, including SPD's policies and procedures; training
materials related to the use of force and accountability; SPD internal affairs protocols; and other
materials relating to the general operations of the Department and use-of-force practices in
particular. We also reviewed over 100 report files for over 100 internal investigations conducted
by IIU, as well as 74 personnel files.

        Most significantly, the investigation included a comprehensive review of officer reports
regarding specific incidents in which an SPD officer used force. There is no single report used to
document force within SPD. Rather, officers use three main types of documents to record force
- (1) the "Prisoner Injury File," (2) the "Arrest Report," and (3) the "Use-of-force Report" - each
of which is described below:

    1. Prisoner Iniury Files. A "Prisoner Injury File" is the most common report that
       officers use to document the use of force. Each such file includes:
               a. SPD-276 form;
               b. Non-mug shot photographs of the arrestee and his injuries;
               c. Prisoner injury report narrative(s); and
               d. Arrest Report.



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        When a prisoner is booked, an officer in charge (typically the booking sergeant)
        must complete an SPD-276 form when he or she "finds any bruises, cuts or other
        injuries" on a prisoner. 7 In the SPD-276 form, the officer documents the arresting
        officer's name(s), the prisoner's name, the prisoner's marks or bruises, and how
        the marks or bruises were caused. The booking sergeant also takes non-mugshot
        photos for inclusion in the file.

        Under SPD policy, the commanding officer also obtains prisoner injury report
        narratives from all officers involved with the arrest ifa prisoner's injury is alleged
        or suspected to have been inflicted by an officer. 8 In the report narratives,
        officers are supposed to detail any force used by the involved officers and the
        circumstances surrounding the use of force. A prisoner injury file also includes
        the related arrest report for the encounter in which the injury was sustained.

        If a prisoner's injury requires medical attention, policy requires the SPD Captain
        of Professional Standards to cause a preliminary investigation to be conducted to
        ensure that proper procedures were followed. 9 The prisoner injury files we
        reviewed generally included a boilerplate memo from the commanding officer
        stating that the prisoner's injuries were consistent with the officers' narratives and
        recommending no further investigation into the incident.

    2. Arrest Reports. Some references to uses of force are also captured on SPD's
       "Arrest Report" form. This form is principally used to document arrests, not uses
       of force, but the form includes a section where officers document the
       circumstances and justification for an arrest, which sometimes include reports of
       force being used. However, while an arrest report narrative may reference the
       force incidentally used to effect an arrest, it does not typically provide a detailed
       description of the actions justifying a use of force, and/or the precise nature of the
       use of force that one would expect in a use-of-force report.

    3. Use-of-force Reports. SPD only requires officers to file a "Use-of-force Report"
       when they use a less-lethal force tool, such as electronic weapons (e.g., Tasers),
       oleoresin capsicum spray (OC spray), batons, or other impact tools. Unlike most
       other police departments, SPD policy does not require written reports to be
       completed when hands-on force alone is used, such as punching or kicking. 10


1
         See Massachusetts General Law (M.G.L.) ch. 276 § 33.
8
         Revised AO 88-594 Prisoner Injury/Arrest Reports (effective date Jan. 27, 2010).
9
         SO 10-005, Prisoner Medical Attention Injury (effective date Jan. 17, 2010).
10
         SPD General Order 500. 76, Reporting the Use of Deadly Force and Less Lethal Force Tools, p. 2
(effective date Jan. I, 2015). By contrast, most other police departments require officers to report any
kind of force that exceeds what is necessary for compliant handcuffing. For example, the Massachusetts
Chiefs of Police Association recommends that: "All officers shall complete a Use of Force Report if they
are involved in any instance wherein physical force greater than handcuffing of a compliant detainee,
'soft hand physical compliance techniques' or 'come-alongs' are utilized ... " See https://www.erving-
ma.gov/sites/ervingma/files/uploads/1.01 use of force.pdf; see also Baltimore Police Department Policy
725, Use of Force Reporting, Review, and Assessment, p. 2,4 (effective date Nov. 24, 2019) (requiring

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        While SPD policy does not preclude officers from reporting other types of force,
        no officer we interviewed indicated that he or she submits use-of-force reports for
        hands-on uses of force. Instead, SPD officers sometimes report uses of hands-on
        force infonnally in one of the two other fonns listed above: a prisoner injury
        report narrative or an arrest report.

        We requested and received every arrest report and use-of-force report for a five-year
period spanning from 2013-2018, and every prisoner injury file created from 2013 through 2019.
This set of documentation included over 1,700 prisoner injury files, approximately 26,000 arrest
reports, and over 700 use-of-force reports. In light of the fact that this investigation is focused
on the Narcotics Bureau specifically, we reviewed every one of the 84 prisoner injury files
involving a Narcotics Bureau officer's use of any form of force from 2013-2019, as well as many
of the approximately 5,500 Narcotics Bureau arrest reports between 2013 and 2018. We also
reviewed all use-of-force reports involving Narcotics Bureau officers from 2013-2018 - a total
of just 10 reports for a five-year period. Some of the IO use-of-force reports overlap with the
uses of force reported in the prisoner injury files and document the injuries that resulted from the
use ofOC spray and lasers. In addition to reviewing all Narcotics Bureau-related incident
reports, we also reviewed hundreds of other use-of-force incidents, both to ensure that our
investigation did not omit incidents involving Narcotics Bureau officers and to better understand
the use-of-force practices of the Department as a whole.

            III.    THE NARCOTICS BUREAU'S USE-OF-FORCE PRACTICES

        We have reasonable cause to believe that Narcotics Bureau officers engage in a pattern or
practice of using excessive force in violation of the Fourth Amendment. 11 We reviewed the
Narcotics Bureau's force practices mindful that officers have both the right and responsibility to
protect themselves and others from threats ofhann, which could arise at any point in a particular
situation. Nonetheless, our investigation showed that Narcotics Bureau officers resort to force
when there is no legal justification to do so, and that in situations where force is justified,
Narcotics Bureau officers use force that is more severe and dangerous than is reasonable. In
particular, our investigation revealed a pattern or practice of unlawful non-lethal and less-lethal
use of force within the Narcotics Bureau.

        A. Legal Standard

       The use of excessive force by a law enforcement officer violates the Fourth Amendment.
Graham v. Connor, 490 U.S. 386,394 (1989). Excessive force claims are analyzed under the
Fourth Amendment's "reasonableness" standard, and courts are to balance "the nature and


officers to complete use-of-force reports for hand control, escort, and pressure point compliance
techniques, as well as "[f]orcible takedowns that do not result in actual injury or complaints of injury");
Portland Police Bureau, Policy 1010.00, Use of Force (effective Jan. 19, 2020) (categorizing resisted
handcuffing, resisted control, and all takedowns, whether controlled or resisted, as reportable uses of
force).
11
         Throughout, we use the tenns "unreasonable" and "excessive" interchangeably; both terms refer
to force that exceeds constitutional limits, or in other words, is disproportional in light of the threat posed
to officers or others, the level of resistance, and the severity of the crime suspected.

                                                       9
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quality of the intrusion on the individual's Fourth Amendment interests against the
countervailing governmental interests at stake." Id. at 396 (internal citations omitted). Courts
use a "totality of the circumstances" approach and assess the reasonableness of the force "from
the perspective of a reasonable officer on the scene, rather than with the 20/20 vision of
hindsight." Id. The reasonableness inquiry is an objective one: "whether the officer's actions
are 'objectively reasonable' in light of the facts and circumstances confronting them, without
regard to their underlying inquiry or motivation." Id. at 397. Even if uses of force do not result
in serious injuries, the force can still be excessive. Bastien v. Goddard, 279 F.3d 10, 14 (1st Cir.
2002); Alexis v. McDonalds Rests. of Mass., Inc., 67 F.3d 341, 353 & n.11 (1st Cir. 1995).

        While this investigation focused on whether Narcotics Bureau officers' use-of-force
practices exceed constitutional limits, SPD also places limits on officers' use of force through
Department policies. SPD's main general order governing the use of force provides: "It is the
policy of the Springfield Police Department that an officer's force response must be objectively
reasonable in consideration of the officer's perception of the risk/threat presented, and the
officer's perception of the subject's actions." 12 That general order also contains a use-of-force
continuum that indicates available force options in particular situations depending on the level of
resistance an officer encounters. 13

         To establish a pattern or practice of violations, the United States must prove "more than
the mere occurrence of isolated or 'accidental' or sporadic discriminatory acts." See Int'! Bhd. of
Teamsters v. United States, 431 U.S. 324, 336 (1977). It must "establish by a preponderance of
the evidence that ... [violating federal law] was ... the regular rather than the unusual practice."
Bazemore v. Friday, 478 U.S. 385,398 (1986) (quoting Teamsters, 431 U.S. at 336); see also
EEOC v. Am. Nat'/ Bank, 652 F.2d 1176, 1188 (4th Cir. 1981) ( explaining that a "cumulation of
evidence, including statistics, patterns, practices, general policies, or specific instances of
discrimination" can be used to prove a pattern or practice). Additionally, unlike Section 1983
Monell claims brought by private plaintiffs, the United States does not need to show that the City
had an official custom or policy that was the "moving force" behind the constitutional violations
in order to establish municipal liability under Section 12601; rather, the pattern or practice of
unconstitutional conduct is alone sufficient to establish liability. See United States v. Town of
Colo. City, 934 F.3d 804,811 (9th Cir. 2019) (holding that Section 12601 establishes liability
for municipalities based on general agency principles).

       B. SPD's Narcotics Bureau Engages in a Pattern or Practice of Unreasonable Force
          in Violation of the Fourth Amendment

        Our investigation determined that Narcotics Bureau officers use non-lethal and less-lethal
force unreasonably with high frequency. Our review of2013-2019 prisoner injury files
involving Narcotics Bureau officers, for example, showed that a substantial portion of reported
uses of force were unreasonable, based on an application of the standards articulated in Graham
v. Connor, 490 U.S. 386 (1989), and an examination of whether the officers' level of force was
proportional in light of whether the subject demonstrated compliance, passive resistance, active


12
       SPD General Order 100.20 (Effective Date: Jan. 1, 2015) at I.
13
       Id. at 2-5.
                                                  10
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resistance, or assaultive behavior. 14 Within this pattern or practice of excessive force, our
investigation identified a specific trend of Narcotics Bureau officers striking suspects in the head,
or otherwise using force that results in blows to the head, in situations where such force is not
justified. Our investigation was narrowly focused on the use of force by the Narcotics Bureau;
however, our conclusion is supported by evidence of other SPD officers escalating encounters
and employing head strikes without justification.

         Narcotics Bureau officers regularly punch subjects in the head and neck area without
legal justification. The routine reliance on punches during arrests and other encounters that we
discovered during our investigation indicates a propensity to use force impulsively rather than
tactically, and as part of a command-and-control approach to force rather than an approach that
employs force only as needed to respond to a concrete threat. This reliance on punches to the
head also indicates a failure of officers to appropriately comprehend the seriousness of head
strikes and the resistance that must be encountered to justify their use. Punches and other blows
to the head are dangerous, and can create a substantial likelihood of causing death or serious
bodily injury. See Conlogue v. Hamilton, 906 F.3d 150, 156 (1st Cir. 2018); Wade v. Fresno
Police Dep 't., No. I :09-CV-0599 AWI-BAM, 2012 WL 253252 (E.D. Cal. Jan. 25, 2012), ajf'd,
529 Fed. Appx. 840 (9th Cir. 2013) (unpublished) ("Choking and punching are broadly
characterized as non-lethal levels of force, though both may be employed in a manner that
creates a substantial risk of death or serious bodily injury.").

        To its credit, SPD has adopted general orders that recognize the seriousness of head
strikes. A policy on impact tactics provides that "officer[s] should avoid strikes to the subject's
head, neck, spine, kidney and solar plexus area(s). Targeting of more vulnerable areas of a
subject's body should be undertaken only under the proper circumstances." 15 And SPD's main
use-of-force policy designates head strikes as a "level four" use of force on a five-level
continuum, with only deadly force requiring greater justification. The policy establishes that
punches to the head are not permissible unless a subject is actually "assaultive," defined as
engaged in a perceived or actual attack on the officer or another person. If a subject is instead
exhibiting only "active resistance," an SPD officer must use compliance techniques other than
punches to the head. 16

       Similarly, according to nationally accepted standards, punching a subject in the face
should not be the first method of trying to gain compliance ofa subject. Indeed, some states'
14
         As discussed in detail in Section III.C, our analysis likely undercounts the frequency of
unreasonable force. First, of the Narcotics Bureau prisoner injury files from the period that we reviewed,
in 46% of cases, officers failed to provide sufficient detail to make a determination one way or another as
to the legality of the force used. These incidents did not factor into our investigative conclusions about
excessive force even though the records of these incidents do not contain adequate information to
determine the force used was justified. Moreover, while we reviewed all reported Narcotics Bureau uses
of force, our investigation identified evidence that force used by Narcotics Bureau officers commonly
goes unreported. For example, in reviewing all of the Narcotics Bureau's 2017 arrest rep01ts where the
narrative indicates that the prisoner was likely to have been injured at the hands of an officer, booking
sergeants only completed SPD-276 forms 11 % of the time, indicating a large number of force incidents
that were not reported by officers, reviewed by supervisors, or available to us during this investigation.
15
         SPD General Order No. 500.50, Impact Tactics.
16
         SPD General Order 100.20, at pp. 3-4 (effective date Jan. 1, 2015).

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training standards expressly note the dangers of this form of force, including that "a blow of
sufficient force with any personal body weapon [such as hands and feet] to a vulnerable part of
body during an attack could result in injury or fatality," including face, throat, head, and neck. 17
Scientific and professional literature confirms that punching someone in the head, face or neck
area has the potential to cause disfigurement, damage major blood vessels, can lead to traumatic
brain injury, and can possibly even sever the spinal cord. 18 Punches to the head also often result
in additional head injuries if and when a subject falls to the hard ground. In addition, fist strikes
are not only dangerous for subjects, but also create a real risk of injury to officers. If an officer
injures his or her dominant hand while executing a fist strike, the officer is made vulnerable by
being unable to access other force tools to protect himself. 19 Even in situations where strikes to a
subject's head are warranted, palm strikes or hammer punches are safer for both the officer and
subject than knuckle punches.

         Contrary to law, SPD policy, and national standards, Narcotics Bureau officers routinely
resort to punching subjects' head areas with closed fists as an immediate response to resistance
without attempting to obtain compliance through other less serious uses of force. Out of all 84
Narcotics Bureau Prisoner Injury Files from 2013 through 2019, roughly 19% of the uses of
force reviewed included punches to subjects' heads, and approximately an additional 8%
involved injuries to subjects' heads from another form of a head strike. In a significant number
of these cases, such force was unreasonable.

        For example, in one incident, Narcotics Bureau officers punched V.A., a 25-year-old
man, following a foot pursuit. 20 When the four Narcotics Bureau officers approached V.A. and
motioned to him to remove his earphones, officer reports state that V.A. pushed one of the
officers and began running away. After they caught up to V.A., a Narcotics Bureau supervisor
delivered multiple punches to V.A.'s face, allegedly because V.A. looked prepared to fight by
holding his closed fist in a "punching position." V.A. sustained a broken nose and lip laceration
requiring three stitches. The incident then allegedly continued on the ground with an officer and
V.A. exchanging blows, though there is no evidence indicating that the officer sustained any
injuries. Instead, it appears that officers chased V.A. and initiated the use of force by striking
V.A., a non-assaultive subject, with multiple punches, immediately using a means of force that
was disproportionate to the subject's resistance without attempting other less dangerous uses of
force. Given that four officers were present, other methods of control could have been used
instead of immediately punching him in the head.

        In another incident, a Narcotics Bureau officer punched T.S., a 17-year-old youth, as he
rode a motorbike past a group of Narcotics Bureau officers. At the time of the punch, the
officers were making unrelated arrests; when the youth rode his motorbike past the officers,

17
         California Peace Officers and Standards Training LD 33.0 l .E04.
18       Ed Flosi, When a Cop Throws a Punch to the Face, policeone.com, Nov. 11, 2010, available at
https://www. po liceone. com/legal/articles/28 6692 7- When-a-cop-throws-a-punch-to-the-face/; Traumatic
Brain Injury, American Association of Neurological Surgeons, available at
https://www .aans.org/en/Patients/Neurosurgical-Conditions-and-Treatments/Traumatic-Brain-Injury.
19
         See Mike Siegfried, Safer Strikes, policemag.com, Aug. 5, 2010, available at
https://www.policemag.com/340364/safer-strikes.
20
         Name abbreviations used in this letter are pseudonyms.
                                                    12
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reportedly at a high rate of speed, an officer struck the youth. In the involved officer's arrest
report, he does not characterize the strike as a punch, but rather states that he "extended his left
arm" to prevent the youth from colliding with him on the motorbike. The 17-year-old then
"swerved" his motorbike and the officer ended up "mak[ing] contact" with the youth's head and
shoulder area. Administering a fist strike in this circumstance was particularly dangerous as the
youth could have easily lost control of the motorbike, severely injuring himself, the officer, or
others. The subject's brother, L.S., was also punched in the face, but by a different Narcotics
Bureau officer. The officer who punched L.S. reported that he did so because L.S. ran towards
the officer "with his fist clenched and arm cocked back." None of the other officers at the scene
corroborated the punching officer's account.

        In a third incident, a Narcotics Bureau officer pushed J.B., a 22-year-old man, in the face
following a foot pursuit where J.B. exhibited no assaultive behavior. After four Narcotics
Bureau officers observed J.B. to be engaged in a narcotics transaction, an officer engaged in a
foot pursuit and shoved J.B. from behind so that he fell to the ground. As reported by the officer
in the prisoner injury report narrative, J.B. rolled over and began to push at the officer in an
attempt to escape, as opposed to in an assaultive manner. The Narcotics Bureau officer then
struck J.B. in the face with a closed fist, resulting in a laceration to his lower lip. Nothing in the
officer's narrative indicated that J.B. was engaging in the kind of active physical threat that
would condone the use of a knuckle punch to the face. The fact that four Narcotics Bureau
officers were involved in this arrest made it even less necessary to strike the subject in the head
to gain compliance.

        These incidents are merely examples and are not atypical within the Narcotics Bureau.
We found multiple incidents in which officers used head strikes following a pursuit, even when
officer reports suggest the subject was already subdued, including an incident where the
Department of Justice has charged the officer with criminal color of law violations. Tellingly, a
former Narcotics Bureau officer reported that people know that if you mess with the SPD or try
to run, you "get a beat down." Incident reports we reviewed support this officer's observation.

         In many incidents involving head strikes, Narcotics Bureau officers unnecessarily
escalate encounters and immediately punch subjects without employing other control tactics that
are lower on the use-of-force continuum. While law enforcement officers may inevitably need to
use force to carry out their job, the law prohibits officers from using force that is
dispropmiionate to the threat at hand. See Graham, 490 U.S. at 396; Jennings v. Jones, 499 F.3d
2, 11 (1st Cir. 2007). Generally, using a greater level of force is not reasonable when the officer
did not encounter "any danger or physical resistance that required him to escalate his use of
force" to effectuate arrest. See Jennings, 499 F.3d at 20-21 (use of increased force after a subject
stops resisting violates the Fomih Amendment). Nonetheless, we reviewed multiple incidents in
which officers used more severe force than the situation warranted.

        In the course of one drug arrest, for example, a Narcotics Bureau officer punched R.F., a
slight, middle-aged man, while attempting to retrieve contraband. Officer reports state that R.F.
resisted opening his fist and instead attempted to free his wrist from the Narcotics Bureau
officer's grasp; officers then immediately punched him in the face. The Narcotics Bureau officer
who punched R.F. escalated the situation without attempting other means of gaining compliance,


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unnecessarily resulting in a serious use of force. R.F. is not a large individual- 5'9" and 140
pounds - and there was no evidence that he had access to a weapon or otherwise posed a threat.
The arrest report also shows that at least four Narcotics Bureau officers were on the scene.
These circumstances do not justify escalating the encounter to include use of a head strike.

        In many situations, Narcotics Bureau officers quickly escalate their situational responses
to involve force without first identifying themselves as officers or issuing verbal commands.
Given that Narcotics Bureau officers often operate as plainclothes officers, they often do not
have uniforms or other indicators that would help distinguish them as law enforcement officers.
Nonetheless, we found that officers fail to take basic steps to identify themselves before resorting
to force. See Shea v. Porter, 56 F. Supp. 3d 65, 88 (D. Mass. 2014) (considering the fact that the
subject did not believe or know that the person in plain clothes was indeed a police officer as an
additional factor weighing in favor of a finding of excessive force). In one incident, see infi-a
Section III.C.3., video footage shows that officers rushed into a store and immediately hit S.L. in
the face. The encounter happened so quickly that it appears the plainclothes officers failed to
identify themselves. The video lacks audio, but at a minimum, the video makes clear that if
officers did announce themselves or issue a command, they failed to provide S.L. with any time
to react to the officers and surrender before he was hit.

        Relatedly, we reviewed incidents in which officers' failure to identify themselves resulted
in pursuits that ultimately escalated into unreasonable uses of force. In two nearly identical
situations we reviewed involving vehicle pursuits, the drivers stated that they did not
immediately stop their vehicles because they did not know that the plainclothes Narcotics Bureau
officers in pursuit were in fact officers and instead feared they were being chased by criminals.
The narcotics officers were in unmarked cars, and did not activate their lights. Once the drivers
did eventually stop their cars-in one case because an officer in a marked cruiser came on scene
and activated his blue lights, and in the other case because the individual collided with another
car-the police then used unreasonable force to effect the arrests.

        In the case of P.J., he claimed that he fled in his vehicle because he was being chased by
an unmarked vehicle and did not know law enforcement officers were in that vehicle. In one
report, an officer describes "extracting [P.J.J through the passenger side door and proned [him]
face down onto the pavement." Photos show he sustained significant injuries-severe
contusions and dark bruising on the right side of his face, a large black eye, a gash on the bridge
of his nose, and additional abrasions on the left side of his face and the left side of his nose.
These injuries are inconsistent with the officers' reports that P.J. had "small cuts to the face," and
are instead consistent with repeated strikes of his head.

        In the case ofF .D., two Narcotics Bureau officers, including one supervisor, stated that
after a brief pursuit ofF.D.'s vehicle, they pulled F.D. from the car onto the ground. One
officer's report says F.D. was "placed" on the ground and another officer's report states that F.D.
was "escorted" to the ground. But photos of the abrasions to F.D.'s face demonstrate the use of
serious force and multiple points of impact including: the left side of his forehead, the right side
of his forehead, and his cheek. F.D. reported in an interview that he was kicked in the face and
upper body area 10-12 times, with multiple officers taking turns kicking him. Regardless of
whether these injuries were caused by an aggressive takedown or direct kicks to the head, the


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prisoner injury report narratives do not indicate that any such force was necessary. None of the
officer reports state that F.D. resisted arrest or was combative, and this is further supported by
the fact that he was not arrested for resisting arrest or assault and battery of a police officer.
According to documents, 12 officers were listed as involved with the arrest and four officers
completed prisoner injury report narratives, all arising from an incident that began when F.D.
failed to stop because he did not know he was being chased by officers.

        Had Narcotics Bureau officers properly announced themselves and given P.J. and F.D. an
opportunity to surrender peacefully, which both reportedly did once they finally realized the
plainclothes officers were law enforcement officers, the Narcotics Bureau officers could have
likely engaged in a straightforward arrest without the use of unreasonable force.

        In addition to directly striking subjects' heads, Narcotics Bureau officers also engage in
similar conduct that, like head strikes, could reasonably be expected to cause head injuries
without legal justification, including conducting unnecessarily forceful takedowns. This type of
force is particularly troublesome because the resulting crash to the pavement can cause serious
injuries such as bone fractures and head trauma. See Raiche v. Pietroski, 623 F.3d 30 (1st Cir.
2010) (tackling plaintiff from his motorcycle and slamming him into the pavement constituted
excessive force).

         For example, in the course of a recent arrest, roughly a dozen officers, most of them
Narcotics Bureau officers, executed a narcotics warrant for A.E. After a vehicle pursuit, A.E.
eventually stopped but refused to get out of the car, and officers physically pulled him out. At
some point during his extraction from the car, A.E. 's head struck the pavement directly, and the
booking photos show significant swelling in his right forehead area in two points of impact,
indicating that officers likely used additional force once A.E. was on the ground. The officers'
own reports indicate that Narcotics Bureau officers had A.E. under control at all times, and
nothing indicates that his head needed to be slammed to the pavement. Despite the serious head
injuries depicted in the booking photos, one officer's report described A.E. as having only a
"minor injury" above his eye. Notably, the Narcotics Bureau officers' accounts of what
happened in the course of the arrest are also inconsistent with each other. One Narcotics Bureau
officer reported that A.E. and other officers fell to the ground together, and that A.E. then
continued to struggle and resist handcuffing. Another officer did not mention that any officers
fell to the ground, and instead reported that A.E. tried to pull away when officers handcuffed him
and "stumbled falling to the ground." Viewed in isolation, each officer's report fails to describe
circumstances that would justify the level of force used in this encounter. Viewed together, the
inconsistencies between these reports demonstrate that the officers did not accurately report how
A.E. sustained the significant and multiple injuries to his head.

        Across these and other incidents, we identified trends and practices that are unique to the
specialized work of the Narcotics Bureau. First, as discussed above, the fact that Narcotics
Bureau officers often fail to identify themselves when they are in plainclothes and attempting to
stop or arrest a suspect has resulted in unreasonable--and avoidable-uses of force. Second,
Narcotics Bureau officers often execute search warrants or planned seizures, operations that
often involve many officers. The tactical benefit of having multiple officers on scene should be
that officers have the opportunity to engage in more strategic planning of the arrest or raid. In


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practice, however, the presence of multiple narcotics officers appears to lead to less thoughtful
decision-making and increased uses of force. Further, in some of the incidents summarized
above, one of the many officers on scene included a supervisor, which means that supervisors are
not only involved in the use of force, but implicitly approving the uses of force.

        C. Narcotics Bureau Force Violations Are Likely More Widespread Than Indicated
           in SPD Documents

        Our investigation shows that the pattern or practice is likely more widespread than is
captured by SPD documents. We identified substantial evidence that, over the last six years: (I)
Narcotics Bureau officers failed to report use-of-force incidents that should have been reported
even under SPD's lax policies; (2) where force did get reported, officers often used vague
language, which prevented us from identifying a particular use of force as unlawful in a
significant number of cases; and (3) officers made false reports that were inconsistent with other
available evidence, including video and photographs, suggesting that there are additional
instances of unreasonable force that we were not able accurately to assess in cases where no
photographic or video evidence exists.

               1.      Narcotics Bureau officers underreport uses of force

        Narcotics Bureau officers regularly underreport uses of force and the injuries that result.
As discussed above in Section II, SPD policy requires all uses of force that cause an injury to a
subject to be documented in a prisoner injury file; only then is a particular use of force reviewed
by a supervisor. During our review of arrest reports, however, we identified a large number of
incidents in which officers reported using force to apprehend a suspect on the arrest report but
failed to complete an accompanying prisoner injury file to specifically document the force used.
These references to force in arrest reports included uses of force like takedowns or forcibly
removing a suspect from a vehicle while he or she was resisting. While the officers' descriptions
of force in these arrests reports is typically vague, in many cases, the force was likely to have
caused some injury. In 2018, there were 32 Narcotics Bureau arrest reports that referred to a use
of force where an injury may have likely occurred. Yet, Narcotics Bureau officers failed to
complete a prisoner injury file in 21 (66%) of those incidents. Similarly, for 2017, 81 Narcotics
Bureau arrest reports referred to a use of force where an injury to a prisoner likely occurred.
Narcotics Bureau officers failed to complete a prisoner injury file in 72 (89%) of those cases.

        For example, during the execution of an arrest warrant in 2017, a Narcotics Bureau
officer used force against a subject who refused to exit his home, but the officer did not report
the use of force in a prisoner injury file. Citing an "aggressive barking dog," the officer
executing the warrant deployed one burst of oleoresin capsicum (OC) spray to the subject's face
through a window, and then pulled the subject through the door. Once the subject was out of the
house, the officer used a leg sweep, causing the subject to land on the floor of the porch. The
officer then struck the subject with his fist in the upper arm/shoulder area. The force employed
during this incident was not reported in a prisoner injury file.

       According to another Narcotics Bureau arrest report from 2018, while executing an arrest
warrant related to the sale of narcotics, officers took a subject from the front seat of a car and

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placed him face down on the street in order to be handcuffed. The arrest report notes that he
"sustained minor abrasions to his forehead." There is no accompanying prisoner injury file for
this incident.

        Among the over 5,000 Narcotics Bureau arrest reports we received during our
investigation, many refer to a use of force that is not documented anywhere else. Given that
arrest reports only contain cursory references to force used during the arrest, the failure to
properly complete a prisoner injury file in cases where force resulted in injury likely shielded
many additional uses of force from our review. This also underscores the failures in supervisory
oversight within the Department, as supervisors reviewing these arrest reports should have filled
out SPD-276 forms at the time of booking, and additionally directed the involved officers to fill
out prisoner injury report narratives.

               2.      Prisoner injury report narratives are often vague and fail to detail officer
                       actions

        Narcotics Bureau officers' narratives in the prisoner injury reports they do file are
consistently vague and use generic, patterned language. In many cases, this makes it impossible
to identify the circumstances surrounding a particular use of force or whether the rep01ted force
was unreasonable. Indeed, we were unable to make a determination about the reasonableness of
force in 43% of the Narcotics Bureau prisoner injury files reviewed during this investigation, and
accordingly, supervisors too lacked the information they needed to determine whether their
officers were using force appropriately.

        Officers regularly use rote and pat language to justify their uses of force without
providing individualized descriptions. Reports often contain conclusory language calling a
particular use of force reasonable without describing in detail the circumstances surrounding the
use of force. One report, for example, said that as the officer attempted to stop the subject from
fleeing, they "both violently fell to the ground. Once on the ground [the subject] continued to
struggle[,] at which point [another officer] arrived and began assisting and controlling and
placing [the subject] under arrest." The report concludes by stating, "[ o]nly reasonable and
necessary force was used to apprehend the subject." Other reports acknowledge some sort of a
struggle, but fail to document the specific resistance encountered or the specific type of force
used by the officers involved. One such prisoner injury narrative simply stated about a female
subject that, "[d]ue to her resisting [arrest] and in order for us to safely handcuff her, we had to
bring her down, in a prone position, face first, onto the sidewalk. During this struggle she
sustained scrapes to her face area."

      The use of vague and rote language obscures the details of many incidents, and precludes
meaningful supervision and oversight within the Department.

               3.      Narcotics Bureau officers submit repo1ts with inaccurate or falsified
                       infonnation

       During our investigation, we sought to compare the narratives Narcotics Bureau officers
reported in prisoner injury files with other available evidence regarding the same incident, such


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as photographs and/or videos. We found multiple incidents in which available evidence
discredited the Narcotics Bureau officers' account of what occurred. This is consistent with a
former SPD officer's characterization of the Narcotics Bureau as a "rogue unit," whose officers
were known for routinely cutting corners.

         In the case of P.J., described above, a Narcotics Bureau officer stated that he made an
effort "to extract[] [P.J.] through the passenger side door and prone[] [him] face down onto the
pavement." According to another officer's narrative, this resulted in "minor abrasions to the
right side of his face," and according to the booking sergeant in charge of filling out the SPD-276
form, P.J. had "small cuts to the face." These descriptions of P.J. 's injuries are plainly
contradicted by the photographs in his prisoner injury file. These photographs clearly show
severe contusions and dark bruising on the right side of his face, a large black eye, a gash on the
bridge ofhis nose, and additional abrasions on the left side of his face and the left side of his
nose. The injuries present in the photographs are inconsistent with the officers' reports, and are
instead consistent with repeated strikes to P .J. 's head. Further, when interviewed by IIU after
P.J. filed a complaint, a civilian witness stated that she saw officers kick P.J. in the head and
body. During his IIU interview, P.J. stated that one officer struck him in the head with the butt
of a handgun, and that once on the ground, several officers began kicking and punching him in
the head and the body. P.J. further alleged that, once back at the station and in a holding room, a
Narcotics Bureau officer walked in and beat him severely in the face with a book, causing him to
bleed profusely. To be clear, there is no other corroboration of P.J. 's version of events besides
the photographs we reviewed and the statement of the civilian witness. But these pieces of
evidence are more consistent with some of P.J. 's reporting of the takedown than the officers'
reports. Although IIU investigated P.J.'s complaint, IIU failed to sustain P.J's allegations and
the officers received no discipline.

        Instances of officers downplaying the extent of a prisoner's injuries in their official
reports were commonplace in the files we reviewed. In another prisoner injury file, Narcotics
Bureau officers repo1t that M.K., a 5'3" man, had a "small cut over and under his left eye,"
whereas the photographs show not only the small cuts but that his eye was almost swollen shut.

        In a 2016 incident, security camera footage directly contradicted aspects of the reports of
Narcotics Bureau officers. In reports documenting a Narcotics Bureau arrest of S.L., a Narcotics
Bureau officer stated that as he reached out to secure S.L., S.L. "backed away and struck [him] in
the face with a closed fist." The officer reported that he then struck S.L. in the face and upper
body in an attempt to stop S.L. from striking him again. As reported by the officer, the
circumstances of this interaction would justify the force used. But the officer's account is belied
by video evidence, which shows S.L. standing, looking down at a piece of paper in his hand,
when two plainclothes officers rush towards S.L., grab his wrist and tackle him to the ground.
But for the video evidence of what happened in this use of force, the use of force described in the
misleading reports provided by the officers would have appeared reasonable.

        In many cases, we were only able to identify untruthful reporting-and deficiencies in the
way force was actually used-because photographic and/or video evidence happened to be
available. However, these inaccurate reports indicate that it is not uncommon for Narcotics
Bureau officers to write false or incomplete narratives that justify their uses of force. Because


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many prisoner injury files lack photographs of subjects' injuries (in contravention ofSPD policy)
or video evidence of the arrest, the inaccurate narratives raise substantial concern that there are
other uses of unreasonable force that are falsely reported.

        D. Deficiencies in Basic Department Operations Contribute to the Narcotics
           Bureau's Pattern or Practice of Excessive Force

        SPD's deficient use-of-force and accountability policies-failure to require detailed and
consistent use-of-force reporting, and failure to meaningfully review use-of-force reporting-
directly contributes to the Narcotics Bureau's pattern or practice of unreasonable force.
Conversely, reform in this area would go a long way to mitigating the problem.

                 I.      SPD policy does not require appropriate use-of-force reporting

        SPD's use-of-force policies establish a use-of-force continuum showing different levels
of resistance and the severity of force justified by each. However, the Department's use-of-force
policies lack certain common provisions that, if adopted, could have the capacity to reduce the
incidence of unreasonable force. Most significantly, while we identified many instances in
which Narcotics Bureau officers unnecessarily escalated encounters, SPD policy does not require
officers to attempt to de-escalate encounters before resorting to force. The relevant policy states
only that officers "may de-escalate, stabilize or escalate his/her response based upon his/her risk
assessment and the perceptions of the subject's degree of compliance or non-compliance." The
policy does not provide guidance regarding potential de-escalation techniques available to
officers. Further, while we identified several uses of unreasonable force where multiple officers
were on the scene, SPD policy does not require officers to intervene if they observe an unlawful
use of force occurring. 21

        Moreover, the use-of-force reporting policy does not require the reporting of certain
significant uses of force, such as takedowns, punches, or other "hands on" uses of force. Further,
even where policy requires reporting of particular types of force, policy does not specify the
level of detail to be reported or supervisor responsibilities in reviewing the reports. Thus, current
policy allows the vague reporting we saw in prisoner injury report narratives and arrest reports.
Without a reporting mechanism that documents force and is reviewable by supervisors, Narcotics
Bureau officers are able to engage in force without appropriate oversight.

        As discussed in Section II, three types of reports can contain information regarding a use
of force: (I) Prisoner Injury Files; (2) Arrest Reports; and (3) Use of Force Reports, which must
be completed following the deployment of specific weapons, including OC spray and electronic
control weapons. Even in combination, however, these forms do not capture - and SPD policy
does not require the reporting of - uses of force that do not involve specific weapons or injuries
to jailed suspects. This massive gap in policy means that officers do not report many uses of
force.

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         While we did not review any incidents involving lethal encounters, SPD policy also does not
include any requirement that officers attempt to warn individuals before firing their service weapons if it
is reasonable to do so, does not prohibit or otherwise directly limit the use of neck restraints, and does not
explicitly require that medical care be provided following a use of force once it is safe to do so.

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         First, prisoner injury files are ineffective as a general force report as they are not used to
capture force unless it caused an observable injury. This provides too much discretion as to
whether force should be reported, and risks officers being able to avoid reporting uses of force
that do result in injuries by claiming they did not see one. Nor does SPD policy provide any
guidance regarding what constitutes an "injury" and thus triggers the required creation of a
prisoner injury file, which exacerbates the inconsistency of reporting. Under SPD policy,
Narcotics Bureau officers need not report uses of force involving strong hands, punches and
other hand strikes, feet, or elbow strikes unless they result in an injury. In interviews with
Narcotics Bureau officers and other SPD officers, they confirmed that it is not Department
practice to record these types of uses of force, and that any use of arrest reports or prisoner injury
files that happen to document such encounters is aberrational. This practice is especially
problematic given that Narcotics Bureau officers primarily use hands-on force.

        Second, current force reporting practices do not capture any uses of force against a non-
prisoner or a non-arrestee. Because prisoner injury files and arrest reports are the primary
documents used to capture uses of force, no mechanism exists to monitor uses of force against
individuals who are stopped by the police but not ultimately arrested. Indeed, we reviewed
multiple nu complaints against Narcotics Bureau officers for using excessive force against
individuals who were not arrested. In one of them, the complainant alleged that a Narcotics
Bureau officer reached in the car while she was driving, pushed her against the seat, and grabbed
her hand and slammed it into the dashboard so hard that she was bruised. In her nu complaint,
she submitted photos showing bruises. Because she was not arrested, no arrest report or Prisoner
Injury file exists for this incident. In another incident, the complainant alleged that a Narcotics
Bureau officer pulled him out of a car and handcuffed him roughly, only to release him because
they had attempted to arrest the wrong person. Following nu investigations, neither of these
complaints were sustained. The importance of access to nu and strong complaint investigation
procedures is particularly salient in situations where SPD officers do not have to draft arrest
reports or other documentation concerning an encounter with an individual. Under SPD's
current system, an nu complaint is the only way these allegations of officer force will come to
light.

        Third, though many officers essentially treat the prisoner injury report narrative as a
general use-of-force report, prisoner injury files serve a very different function: namely, to
comprehensively document and review prisoner injuries alleged or suspected to have been
inflicted by an officer. Because of this principal function, officers tend to use the report
narratives only to docwnent injuries. In many cases, officers simply report injuries that prisoners
had before officers arrived, likely for liability purposes. For example, of all prisoner injury files
from 2013 through 2018, the content of about one-third was limited to documenting that a
prisoner had an injury before officers arrived to the scene.

               2.      Narcotics Bureau supervisors do not meaningfully review uses of force

       The fact that Narcotics Bureau officers can routinely submit use-of-force reports and
prisoner injury report narratives that lack meaningful detail about a use of force is especially
concerning in light of the fact that Narcotics Bureau supervisors reviewed and approved all of


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the uses of force, including those highlighted in this report. Despite the many instances of
unreasonable force identified by our team, SPD Captains signed off on every single prisoner
injury file without once referring an incident of force to the Commissioner for IIU investigation.
This occurred despite the fact that, on multiple occasions, outside evidence, including video
footage, demonstrated that Narcotics Bureau officers' descriptions of events involving use-of-
force situations was not credible.

        SPD does not have a policy addressing supervisory responsibilities in reviewing prisoner
injury files, arrest reports, or use-of-force reports, and the dearth of detail contained in the
prisoner injury files supports a conclusion that supervisors do not ask questions, require more
information to be submitted, or critically review the reports to ensure that uses of force are
appropriate. This results in failures in supervisory oversight at every stage ofreview. We
understand that, in theory, prisoner injury files are reviewed by a sergeant, a watch commander,
the SPD Quality Assurance Captain, and ultimately the Commissioner. In practice, however, it
appears that the prisoner injury files are rubber stamped without any meaningful review.

        As discussed above in Section II, booking sergeants fill out the SPD-276 form. Booking
sergeants are not assigned specifically to the Narcotics Bureau, but are supervisors who are
stationed at the booking desk and help process arrestees - regardless of the specific unit that
a1Tested the person. Almost universally, these entries on the SPD-276 form are brief and lack
detail. Nor does it appear that supervisors require officers to provide more information when
additional detail is needed to describe an encounter. For example, it is not uncommon for
booking sergeants to document that a prisoner "states undercover officers beat him," or that a
prisoner states that "officers punched and used knees to hit him." These statements should lead
to further inquiry by the reviewing supervisor to identify the nature of the force to determine
whether it was reasonable. Nothing in policy requires supervisors to do so, nor do they do so in
practice.

        The SPD Quality Assurance Captain reviews prisoner injury files to flag any instances
where a prisoner's documented injuries are inconsistent with the prisoner injury report
narratives. This review occurs after the chain of command of the officer using force reviews the
file. While this role is important, it does not appear that the review is meaningful. Ofall 1,700
prisoner injury files produced, we saw only 179 SPD Quality Assurance Captain memos
analyzing whether a prisoner's injury was consistent with the officer's account. The Quality
Assurance Captain signed off on every single prisoner injury file, without once referring an
incident of force to the Commissioner for IIU investigation. Indeed, during our review of every
prisoner injury file between 2013 and 2018, we only saw a single instance in which the Quality
Assurance Captain requested that the arresting officers submit report narratives to explain how
the prisoner received his injury when the officer narratives were absent; once submitted, the file
was approved without referral to IIU. We heard in interviews that the Quality Assurance Captain
refers prisoner injury files to IIU regularly, but we saw no evidence or documentation of this in
our review of the prisoner injury files, and our reviews ofIIU investigations similarly did not
reveal any use-of-force investigations based on prisoner injury files that had been
administratively referred by the Commissioner.




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        The lack ofrigorous supervisory review of uses of force enables deficient force reporting
by involved officers. More significantly, it leads to officers using force, particularly hands-on
force, without fear of oversight or consequence.

                 3.      SPD does not have adequate systems in place to detect, address, and
                         prevent officer misconduct

        Police departments have the responsibility to detect misconduct and take steps to prevent
their officers from engaging in it. The components of an effective accountability system are
well-established and include procedures to ensure that misconduct is fully reported by fellow
officers and supervisors; that complaints from members of the public are accepted and not
discouraged, and that all allegations of misconduct are investigated thoroughly and fairly,
without regard to improper external factors or biases. Developed and implemented properly,
these systems will fairly and objectively determine whether officers acted both lawfully and
consistently with departmental policy or should instead face discipline, as well as determine
whether the incident raises policy, training, tactical, or equipment concerns that need to be
addressed for officer and civilian safety. These basic measures are essential for ensuring that
misconduct occurs rarely and that, when it does occur, officers are held accountable. 22

        SPD does not have an adequate accountability system in place. As a result, Narcotics
Bureau officers who use excessive force or engage in other violations of law or policy typically
face no internal consequences. SPD fails to hold its IIU to even basic standards, creating and
perpetuating an environment that pennits constitutional violations by officers.

                         a. SPD's complaint intake processes are flawed

        SPD's actions have discouraged citizens from filing complaints against officers. While
SPD purports to accept citizen complaints at any location, to any officer, and in any form, we
learned during our investigation that, in practice, this is not the case. SPD commanders we
interviewed said that they do not accept citizen complaints and instead tell complainants that
they must go to IIU. Some officers also reported that, if complainants appear at SPD
headquarters on Pearl Street, officers there have similarly rejected their complaint and instead
instructed them to go to the IIU office on Maple Street.

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         Courts considering police misconduct cases-including courts considering cases involving SPD,
and Narcotics Bureau officers in particular-have long acknowledged that deficiencies in systems and
operations can unequivocally lead or contribute to constitutional violations. See, e.g., Douglas v. Bigda,
No. 14-30210-MAP, Report and Recommendation Regarding Defendant's Motion for Summary
Judgment (D. Mass. Oct. 14, 2016) (adopted in full by the District Court judge in Douglas v. City of
Springfield, No. CV 14-30210-MAP, 2017 WL 123422, at *1 (D. Mass. Jan. 12, 2017)(denying the
City's motion for summary judgment in a case against seven Narcotics Bureau officers for excessive
force explicitly finding that, "[i]f a jury concluded that Springfield's IIU process was ineffective or weak,
it could futther conclude that a resulting failure to take appropriate action in response to complaints of
excessive force might lead Springfield's officers to believe such conduct would be tolerated."); Comfort
v. Town ofPittsfield, 924 F. Supp. 1219, 1233 (D. Me. 1996) (denying the Town's motion for summary
judgment on claims related to police officers' use of excessive force and finding sufficient evidence to
establish the possibility that a police chief's "management style created atmosphere in which officers in
his command believed that he would not punish their use of excessive force.")

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        Community members echoed the challenges involved in filing complaints against SPD
officers. We heard members of the public complain that the Department fails to provide
residents with clear guidance on how and where they can obtain a complaint form. When
community members are able to navigate the intake process, they assert that they are faced with
lengthy delays when trying to acquire complaint forms. One community member said that when
she told an officer in person at SPD headquarters that she wanted to file a complaint, the officer
treated her poorly and made her wait 30 minutes before giving her the form. Another
community member stated that he had to wait five hours to file a complaint at a precinct. In a
case involving Narcotics Bureau officers, the federal court denied summary judgment to the
defendants and concluded that SPD's "IIU documents submitted as evidence by Plaintiff show
what appears to be a consistent pattern of rejecting civilian complaints against police officers."
Douglas v. Bigda, No. 14-30210-MAP, Report and Recommendation Regarding Defendant's
Motion for Summary Judgment (D. Mass. Oct. 14, 2016), adopted in full by the District Court
judge in Douglas v. City ofSpringfield, No. CV 14-30210-MAP, 2017 WL 123422, at *l (D.
Mass. Jan. 12, 2017).

                       b. Investigations of misconduct allegations are inadequate

        Even when complaints do come to SPD, there are deficiencies apparent in the quality of
the investigations of those complaints, which has directly undermined SPD's ability to hold
officers accountable where appropriate. These deficiencies also apply to internal referrals of
misconduct.

        Problems in SPD' s misconduct investigations arise from the outset of the process, as
there is a lack of consistency in how SPD classifies complaints. Like many departments, SPD
assigns some minor categories of complaints and allegations of misconduct to the chain of
command for investigation, while more serious allegations are assigned to IIU given its
specialized focus on conducting such investigations. In interviews, officers asserted that all
allegations of excessive force are handled by IIU, rather than by supervisors in the chain of
command; but documents show this is not the case. We found multiple chain of command
investigations between 2013 and 2018 that involved allegations of excessive force and thus
should have been handled by IIU, but were not.

        Our review of chain of command investigations of allegations of excessive force showed
significant shortcomings in investigative techniques. For example, a prisoner complained that
the "police beat me up," sprayed OC, and struck him three times on the back of the head with a
flashlight. The prisoner injury report narrative states that the prisoner had a laceration on the left
side of his head and was transported to the emergency room of a local hospital for treatment.
SPD's Commissioner classified this excessive force complaint as a complaint that needed to be
reviewed only by the officer's chain of command. The investigative file consisted of the
officers' statements and the arrest report; there was no statement from the complainant or
witnesses. The supervisor's discipline was to recommend retraining to "clearly articulat[e] use
of force in reporting to accurately depict necessity." The primafacie evidence in the reports
indicated that that the officer's force was potentially excessive; in response to the subject's
resisting arrest, the office struck the subject with a flashlight three times in the head-force that


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could potentially cause death or serious bodily injury. Had SPD referred this case to nu for a
full investigation, the Department could have reasonably sustained an excessive force complaint,
rather than finding only that the officer erred by improperly failing to justify his use of force.

        When complaints of excessive force are referred to nu for investigation, those
investigations also have significant deficiencies. We reviewed five years ofnU reports on
investigations of excessive force and a number of other types of investigations of Narcotics Unit
officers. That review showed that nu investigators are not using basic investigative techniques
needed to accurately determine if an allegation of excessive force should be sustained. nu
interviews often lack detail and important content. For example, in many instances, the
interviewer does not ask for any information from the officer beyond what is included in the
officer's arrest report. Instead, nu investigators copy and paste officers' reports into the
investigation report narrative. Interviews are not memorialized by nu investigators, and instead
the nu investigator asks the officers interviewed to write their own report on what was said. The
reports that result from these interviews are of poor quality. The format, structure, and
presentation of the information in IIU reports is often confusing and does not convey an
understanding of the issues or the violations under investigation. Often, multiple source
documents are pasted into the report narrative without any description or attempt to resolve
confusion between the different sources of infonnation. In many reports, the allegations are not
clearly stated or clearly answered, the relevant facts bearing on the truth of each allegation are
not analyzed or clearly reported; and the language is repetitive, resulting in reports that are
overly long and difficult to read despite lacking critical content. Often the IIU investigator does
not attempt to clarify inconsistences between or among witness statements, or between oral
interviews and officer reports.

        In one IIU investigation regarding allegations of excessive force conducted in the spring
of 2016, IIU failed to interview several key witnesses who observed the incident. The incident
so disturbed the witnesses that they recounted it in social media postings the same day. The IIU
investigator knew who the witnesses were, where they lived, and had taken a statement from
another witness confirming their identities, yet never interviewed them, noting instead in the
report that "all efforts to contact [them] were unsuccessful," without any detail as to what
"efforts" he made. Other IIU files document similar failings in following up with key witnesses,
including law enforcement officers from other agencies, to conduct interviews and obtain
essential information. 23

        These failures in how SPD investigates allegations of misconduct are directly attributable
to the lack of adequate policies, guidance, and training for officers regarding how to conduct
internal investigations. Although SPD's Policy Manual makes a general reference to nu and


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        These deficiencies are not limited to investigations of excessive force, but instead are present
across different types of investigations and reflect a broader and deeper lack of capacity within nu. For
example, when investigating a complaint that Narcotics Bureau officers were drinking alcohol on duty,
nu failed to interview at least a dozen named potential witnesses. Attempts to reach witnesses involved
just making one phone call or sending one email before giving up. In that case, nu ultimately
interviewed only one witness who was not a law enforcement officer (who had no information). The
investigative report consisted entirely of nearly identical statements from officers denying the allegations.

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SPD does have an "IIU General Guidelines" document, 24 no policies specifically detail how IIU
complaints are to be investigated, such as how IIU investigators should collect evidence, canvass
for and interview witnesses, or draft investigative reports. Pursuant to the patrol officer and
supervisor unions' CB As, IIU also has a 90-day timeframe to finish investigations, which is short
when compared to other law enforcement agencies. Nor does SPD supply IIU officers with
sufficient training regarding their specific responsibilities as investigators.

                       c. Springfield's Community Police Hearing Board lacks the support and
                          training it needs to make sound conclusions and determinations

        Springfield created the CPHB to increase transparency within SPD and enhance the
Springfield community's involvement in ensuring accountability within their Police Department.
In practice, however, the CPHB fails to fulfill these goals. The CPHB fails to equip its members
with the training and resources needed to adequately perform these tasks. For example, unlike
many other law enforcement agencies, SPD's complaint review and discipline system prohibits
sworn internal investigations officers- those who conduct the investigations and have the most
knowledge of the facts - from making conclusions and recommendations. Instead, it tasks
community members, most of whom have little experience in policing, with making preliminary
determinations on use-of-force allegations and recommending discipline without any meaningful
guidance. Officers we spoke to perceive the CPHB as untrained laypeople who do not have the
resources to competently assess evidence or reach sound conclusions; we also heard from
community members who view the CPHB as politicized and ineffective. To the extent that the
Springfield community seeks to have a board comprised of community members make additional
recommendations regarding the disposition of misconduct investigations and potential discipline,
steps must be taken to enable that responsibility to be carried out effectively and appropriately.

        In any event, the CPHB receives very few use-of-force investigations to review. As
discussed above, SPD supervisors have not referred a single Narcotics Bureau use-of-force
incident to IIU for investigation; and between 2013-2016, only six complaints by members of the
public involving excessive force by a Narcotics Bureau officer made it to IIU. In five of those
six IIU cases involving allegations of excessive force by a Narcotics Bureau officer in 2013-
2018, the officers were exonerated or the allegations were not sustained. The sixth case involves
a Narcotics Bureau officer who has been charged with federal crimes related to his alleged use of
force in the incident. In that case, the indicted officer negotiated a 60-day unpaid suspension and
remains an SPD officer. Neither CPHB nor SPD made a finding regarding whether the officer's
conduct violated policy in that case. While the Commissioner has the authority to impose
discipline regardless ofCPHB's recommendations to correct lapses in accountability; we found
no cases where the Commissioner reversed the CPHB 's recommendation.

                      d. SPD fails to impose discipline even in the rare cases where violations
                         ofpolicy are sustained

       As discussed above, we could not identify a single instance of SPD sustaining a finding
of excessive force involving a Narcotics Bureau officer. But even in cases involving other types
of misconduct, when IIU investigations are sustained, Narcotics Bureau officers rarely face
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       SPD Policy Manual, Rules 32 and 35.

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discipline from SPD. Narcotics Bureau officers are less likely to receive discipline from SPD
compared to officers in other units. Between 2013-2018, in cases where SPD sustained
allegations of misconduct, 11 % of allegations involving SPD officers outside of the Narcotics
Bureau resulted in discipline, but only 5% of allegations involving Narcotics Bureau officers
resulted in discipline. In addition, there is no formal document or database recording past officer
discipline to use as a guideline for the Commissioner. As a result, there are apparent
inconsistencies in discipline.

         SPD's overall failure to discipline its officers for using excessive force is probative of
SPD's failure to discipline Narcotics Bureau officers for using excessive force. Records show
that the failures within SPD's accountability systems are longstanding. In addition to the
instances of excessive force uncovered through our review, courts have found SPD officer
misconduct on multiple occasions where SPD failed to hold officers accountable. For example, a
jury awarded $250,000 to a plaintiff after finding that an SPD officer (not in the Narcotics
Bureau) used excessive force and committed assault and battery when he hit the plaintiff with a
baton in 2013. Hutchins v. Springfield, Case No. 3:16-cv-30008-NMG (D. Mass. Jan. 20, 2019).
SPD did not discipline any of the officers involved in the Hutchins case. In another lawsuit
against the City of Springfield, a plaintiff alleged that in 2012, several Narcotics Bureau officers
punched the plaintiff in the jaw, beat him up, and hit him multiple times with the butt of a pistol.
See Douglas v. Bigda, No. 14-30210-MAP, Report and Recommendation Regarding Defendant's
Motion for Summary Judgment (D. Mass. Oct. 14, 2016), adopted in full by the District Court
judge in Douglas v. City a/Springfield, No. CV 14-30210-MAP, 2017 WL 123422, at *l (D.
Mass. Jan. 12, 2017). None of the Narcotics Bureau officers involved in this incident were
investigated or disciplined by SPD. The Douglas Court determined that "[a] reasonable finder of
fact could also infer that there were flaws in the city's investigation of civilian complaints that
demonstrated deliberate indifference to the risks posed by officers against whom large numbers
of civilian complaints about excessive use of force had been made." The Douglas lawsuit settled
for $60,000 in 2017. According to records created and produced by the City of Springfield and
other publicly available reports, the City paid over $5.25 million in police misconduct
settlements between 2006 and 2019. 25 By contrast, two nearby cities of similar size, Bridgeport,
Connecticut and Lowell, Massachusetts, appear to have paid $249,000 and $817,000,
respectively, in police misconduct settlements during the same 13-year timeframe. 26 This

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         See Stephanie Barry, Springfield Paid Out $3.9 million Over JO years in Police Misconduct
Lawsuits, MassLive, Sept. 6, 2017, available at
https://www.masslive.com/news/2017/09/springfield police misconduct lawsuits.html; Dan Glaun,
Springfield to Pay $885,000 in Settlements in Alleged 20 I 5 Police Beating Even as Grand Jwy Considers
Indictments, MassLive, Sept. 26, 2018, available at
https://www.masslive.com/news/2018/09/post I 008.html (reporting $885,000 settlement); Peter Goonan,
Springfield City Council Approves $450,000 for Police Brutality Settlement, MassLive, June 17, 2019,
available at https://www.mass!ive.com/news/2019/06/springfield-city-counci l-approves-45 0000-for-
pol ice-brutality-settlement. html (reporting $450,000 settlement).
26
         Bridgeport: see Daniel Tepfer, City Settles Police Brutality Lawsuit, CTPost, May 28, 2014,
available at https://www .ctpost.com/l ocal/article/City-settles-po Ii ce-brutali ty-lawsuit-5 5 0803 9. php
(reporting $198,000 settlement); Daniel Tepfer, City Pays Settlements in Police Brutality Cases, CTPost,
July 26, 2017, available at https://www.ctpost.com/local/article/City-pays-settlements-in-police-brutality-
cases-1143 7279 .php (reporting $16,000 settlement); Brian Lockhart, Bridgport Settles Lawsuit Over

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disparity supports our conclusion that SPD officers are engaging in a pattern or practice of
excessive force. Yet, the SPD has failed to use its administrative powers to hold these officers
accountable.

                4.         SPD's failure to train officers contributes to the pattern or practice of
                           excessive force
        SPD's Training Division does not conduct comprehensive in-service training for
Narcotics Bureau officers, or any officers, on the use of punches and strikes- the types of force
that underlie the pattern or practice we have identified. As a result, Narcotics Bureau officers
must recall and rely on recruit training, often received years ago, when assessing when and how
to deliver a punch or strike.

        In addition, SPD Narcotics Bureau sergeants are not taught how to address Springfield-
or supervisor-specific issues that may arise while they are managing officers. They do not
receive formal training on the following important topics: how to complete SPD-276 forms; how
to comprehensively review prisoner injury report narratives; how to follow up with officers
about key report omissions and specious language; or how to handle any pushback from officers
about the need to provide more detailed information in reports.

        Finally, there is no coordination between command staff, IIU, those responsible for
creating SPD policy, and the Training Division to identify problematic patterns or trends that
evidence a need for additional training.

                     IV.      PRELIMINARY ASSESSMENT OF REMEDIES

         Addressing the constitutional violations we identified during our investigation will
require changes to the policy, training, and accountability systems within the Narcotics Bureau
ofSPD. These changes would improve SPD's handling of force issues if they applied to SPD as
a whole. Bringing about lawful and effective policing by the Narcotics Bureau will also require
the sustained commitment of City and SPD leaders in ensuring accountability and transparency
within SPD. While the full range of necessary measures is beyond the scope of this document, it
is clear that changes in the following areas must be made:

    I. Enhance Force Reporting and Review Procedures. SPD should implement a use-of-force
       reporting procedure that: (I) requires officers to report all uses of force, including hands-
       on uses of force, uses of force that do not result in injury, and uses of force that do not
       occur with an arrestee; and (2) instructs supervisors on how to review uses of force and


Family's Arrest, CTPost, Dec. 4, 2018, available at https://www.ctpost.com/local/article/Bridgepo1t-
settles-lawsuit-over-family-s-arrest-l3442920.php (reporting $35,000 settlement).
         Lowell: see Robert Mills & Lauren Peterson, City ofLowell to Settle Confidential Informant
Lawsuit for $7500, Lowell Sun, Oct. 18, 2017, available at https://www.lowellsun.com/2017 /I 0/18/citv-
of-Jowell-to-settle-confidential-informant-lawsuit-for-750g/ (reporting $750,000 settlement); Grant
Welker, Lowell Settlements Cost Taxpayers, Lowell Sun, June 14, 2015, available at
https://www .lowellsun.com/2015/06/14/lowell-settlements-cost-taxpayers/ (reporting one $27,000
settlement and two $20,000 settlements).
                                                     27
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       implement disciplinary action where necessary. Officers and supervisors should receive
       comprehensive training on the new reporting and review procedures.

   2. Adopt New Use-of-force Training, New training curricula should explicitly address the
      importance of avoiding fist strikes to the head, neck, and face area, and avoiding kicking
      suspects. SPD should also expand its training on bystander liability to ensure officers
      intervene to prevent problematic events from escalating and report excessive uses of
      force that they witness.

   3. Review and Revise IIU Policies and Training, IIU requires new policies, procedures, and
      training to ensure that civilian complaints are properly taken, and that IIU officers use
      proper interviewing and investigative techniques in order to conduct meaningful
      investigations.

   4. Increase Accountability Mechanisms. SPD should adopt policies and procedures so that
      officer discipline is meaningful, consistent, and appropriate. SPD should also address the
      fact that administrative charges can be dismissed due to timeliness issues.

                              V.      CONCLUSION

        Our investigation has detennined that there is reasonable cause to believe that Narcotics
Bureau officers have engaged in a pattern or practice of excessive force, which is directly
attributable to systemic deficiencies in SPD's policies, accountability systems, and training.

        We are encouraged by SPD' s cooperation and by its initial efforts to address reform. We
hope SPD will take advantage of its new leadership and the retention of an outside consulting
firm to resolve the issues we identified within the Narcotics Bureau. We look forward to
working cooperatively with the City of Springfield and SPD to develop and implement
sustainable reform measures to address the violations and deficiencies outlined in this report.




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